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United States District Court
Eastern District of Michigan
Southern Division

United States of America,

Plaintiff,
Hon. Sean F. Cox
Vv.
Case No. 24-cr-20442
Joel Michael Adelsberg,
Defendant.

Plea Agreement

The United States of America and the defendant, Joel Michael
Adelsberg, have reached a plea agreement under Federal Rule of
Criminal Procedure 11. The plea agreement's terms are:

1. Count of Conviction

The defendant will plead guilty to Count 1 of the Indictment.
Count 1 charges the defendant with Distribution of Child Pornography
under 18 U.S.C. § 2252A(a)(2).

2. Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading
cuilty carries the following minimum and maximum statutory

penalties:

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Count 1 Term of imprisonment: 5 years to 20 years

Fine: Up to $250,000

Term of supervised release: | 5 years to life

The defendant understands that Count 1 requires a mandatory
minimum sentence of 60 months’ imprisonment and that the Court may
not impose a sentence on that count below the mandatory minimum.

3. Agreement to Dismiss Remaining Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney’s Office for the
Eastern District of Michigan will move to dismiss any remaining
charges in the Indictment against the defendant in this case.

4, Elements of Count of Conviction

The elements of Count 1 are:

1. The defendant knowingly distributed child pornography;

2. The defendant knew that the material was child
pornography;

3. The child pornography was distributed using a means or
facility of interstate or foreign commerce, or shipped or
transported in or affecting interstate or foreign commerce
by any means, including by computer.

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5. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient
factual basis for the defendant’s guilty plea:

On or about October 3, 2023, in the Eastern District of Michigan,
the defendant knowingly distributed child pornography, as defined in
18 U.S.C. § 2256(8), using the social media application “Kik” and the
internet, a means or facility of interstate or foreign commerce. The
defendant knew that the child pornography he distributed included an
image of an adult woman’s face posed next to the exposed genitals of an
approximately 6- to 8-year-old girl. This image was a screenshot taken
from a video saved on the defendant’s primary cell phone, which
depicted the adult woman performing oral sex on the minor girl.

On or about February 22, 2024, the defendant also possessed at
least 106 videos and 49 images of child pornography across four
different cell phones. The child pornography in the defendant's
collection included depictions of prepubescent minors under the age of

12, including toddlers, as well as sadistic/masochistic conduct.

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6. Advice of Rights

The defendant has read the Indictment, has discussed the charges
and possible defenses with his attorney, and understands the crimes
charged. The defendant understands that, by pleading guilty, he is
waiving many important rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary,

have the court appoint counsel—at trial;

D. The right to be presumed innocent and to require the

government to prove the defendant guilty beyond a reasonable

doubt at trial;

E. The right to confront and cross-examine adverse witnesses

at trial;

F. The right to testify or not to testify at trial, whichever the

defendant chooses;

G. Ifthe defendant chooses not to testify at trial, the right to

have the jury informed that it may not treat that choice as

evidence of guilt;

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H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and
I. The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his conviction
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold
certain licenses or to be employed in certain fields. The defendant
understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any

immigration or other consequences from his conviction.

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8. Defendant’s Guideline Range
A.  Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded
the two-level reduction under USSG § 3E1.1(a), the government
recommends that the defendant receive an additional one-level
reduction for acceptance of responsibility under USSG § 3E1.1(b). If,
however, the government learns that the defendant has engaged in any
conduct inconsistent with acceptance of responsibility—including, but
not limited to, making any false statement to, or withholding
information from, his probation officer; obstructing justice in any way;
denying his guilt on the offenses to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise

demonstrating a lack of acceptance of responsibility as defined in USSG

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§ 3E1.1—the government will be released from its obligations under

this paragraph, will be free to argue that the defendant not receive any

reduction for acceptance of responsibility under USSG § 3E1.1, and will

be free to argue that the defendant receive an enhancement for

obstruction of justice under USSG § 3C1.1.

C.

Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal

Procedure 11(c)(1)(B) that the following guideline provisions apply:

2G2.2(a)(2): Base Offense Level;

2G2.2(b)(2): Material involved prepubescent minor or a
minor who had not attained the age of 12 years;
2G2.2(b)(3)(F): Knowingly engaged in distribution;
2G2.2(b)(4): Offense involved material portraying sadistic or
masochistic conduct or other depictions of violence; or sexual
abuse or exploitation of an infant or toddler;

2G2.2(b)(6): Offense involved the use of a computer;

2G2.2(b)(7)(D): Offense involved 600 or more images.

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D. Factual Stipulations for Sentencing Purposes

The parties have no additional factual stipulations for sentencing

purposes.

E. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in subparagraphs B
through D above, or in the factual basis. Neither party is otherwise
restricted in what it may argue or present to the Court as to the

defendant’s guideline calculation.

F. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in subparagraphs B through D above. The
government likewise has no right to withdraw from this agreement if it

disagrees with the guideline range determined by the Court.

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9. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
not exceed the bottom of the defendant’s guideline range as determined
by the Court.
2. No Right to Withdraw
The government’s recommendation in subparagraph B.1 above is
not binding on the Court. The defendant understands that he will have
no right to withdraw from this agreement or withdraw his guilty plea if
the Court decides not to follow the government’s recommendation. The

government likewise has no right to withdraw from this agreement if

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the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release

1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a five-year term of supervised

release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the
government’s recommendation concerning the length of the defendant's
sentence of imprisonment, as described above in subparagraph B.1, will
not apply to or limit any term of imprisonment that results from any

later revocation of the defendant’s supervised release.

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D. Fines

There is no recommendation or agreement as to a fine.

E. Restitution

Restitution is mandatory in this case. The Court must order
restitution to every identifiable victim of the defendant’s offense. 18
U.S.C. § 2259. Defendant agrees to pay restitution to any identifiable
victim associated with Counts 1 and 2 of the Indictment. Defendant also
agrees to pay restitution to MV-1. 18 U.S.C. § 3663(a)(1). There is no
recommendation or agreement as to the amounts of restitution. The
Court will determine at sentencing the identity of any victim in addition
to MV-1, and the amount of restitution owed to each victim.

The defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate
enforcement, in full, by the United States. 18 U.S.C. §§ 3612(c) and
3613. If the Court imposes a schedule of payments, the defendant
agrees that the schedule of payments is a schedule of the minimum
payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the

judgment in full.

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The defendant agrees to make a full presentence disclosure of his
financial status to the United States Attorney’s Office by completing a
Financial Disclosure Form and the accompanying releases for the
purpose of determining his ability to pay restitution. The defendant
agrees to complete and return the Financial Disclosure Form within
three weeks of receiving it from government counsel. The defendant
agrees to participate in a presentencing debtor’s examination if
requested to do so by government counsel.

F. Forfeiture

As part of this agreement, pursuant to 18 U.S.C. § 2253,

defendant agrees to forfeit the following property:

1. Any visual depiction described in Title 18, United States Code,
Sections 2251, 2251A, or 2252, 2252A, 2252B, or 2260, or any
book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, which was produced,
transported, mailed, shipped, or received in violation of these

subsections;

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2. Any property, real or personal, constituting or traceable to
gross profits or other proceeds obtained as a result of the
charged offense; and

3. Any property, real or personal, used or intended to be used to
commit or to promote the commission of the charged offense or
any property traceable to such property.

Specifically, defendant agrees to forfeit the following property:

e Grey Samsung cell phone;

e Grey/Silver Samsung cell phone;

e Grey Samsung Galaxy S5 cell phone;

e Black Samsung Galaxy S9 Edge cell phone;
e Black Samsung Galaxy S9+ cell phone.

Defendant agrees that the subject property is forfeitable to the
United States pursuant to 18 U.S.C. § 2253, as property involved in
defendant’s violations because the property was used to commit or
promote the commission of the violations, and/or contains depictions of
child pornography.

Following the entry of this plea agreement and upon application

by the United States, defendant agrees to the entry of one or more

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orders of forfeiture of his interests in the above referenced property,
including the entry of a Preliminary Order of Forfeiture, at or any time
before, his sentencing. Defendant agrees that the forfeiture order will
become final as to defendant’s interests when entered by the Court.

Defendant acknowledges that he understands that the forfeiture
of property is part of the sentence that may be imposed in this case and
waives his right to challenge any failure by the Court to advise him of
his rights with respect to forfeiture, set forth in Fed. R. Crim. P.
11(b)(1)().

Defendant expressly waives his right to have a jury determine
forfeitability of his interest in the above identified property as provided
by Rule 32.2(b)(5) of the Federal Rules of Criminal Procedure.

Defendant further waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, pronouncement of the forfeiture at sentencing, and
incorporation of forfeiture in the judgment.

Defendant knowingly, voluntarily, and intelligently waives any

challenge to the above-described forfeiture including any challenge

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based upon the Excessive Fines Clause of the Eighth Amendment to the
United States Constitution.

G. Special Assessment

The defendant understands that he will be required to pay a
special assessment of $100, due immediately upon sentencing.

In addition, under the Justice for Victims of Trafficking Act of
9015, the defendant will be required to pay a special assessment of
$5,000, due immediately upon sentencing. 18 U.S.C. § 3014. However, if
the Court finds that the defendant is indigent, he will not be ordered to
pay this amount.

The defendant will also be required to pay an additional special
assessment of up to $35,000. 18 U.S.C. § 2259A. In determining the
amount of this assessment, the Court shall consider the factors set forth
in 18 U.S.C. §§ 3553(a) and 3572.

10. SORNA

Defendant understands that by pleading guilty in this case, he
will be required to register as a sex offender, under both federal and
state registration requirements. As a condition of his release from

prison on supervised release in this case, defendant will be obligated to

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promptly register under the federal sex offender registry. Defendant
may also be required to register under the law of the state in which he
resides, as well as any state where he has significant contacts
(including any state where he resides, works, attends school or
otherwise has significant contacts). Defendant further understands that
he will be required to maintain and update his registration for at least

twenty years, and potentially for the rest of his life.

11. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. The defendant also waives any right he may
have to appeal his sentence on any grounds, unless his sentence of
imprisonment exceeds the top of the guidelines range as determined by
the Court.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief

permitted under 18 U.S.C. § 3582(c), as long as the defendant properly

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files a motion under that section. The defendant, however, waives any
other right he may have to challenge his conviction or sentence by
collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,
or Federal Rule of Civil Procedure 59 or 60.

13. Remedies for Withdrawal, Breach, Rejection, or Vacatur

If the defendant is allowed to withdraw his guilty plea(s) or
breaches this agreement, or if the Court rejects this agreement, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the defendant has been permitted to plead guilty to a lesser-included
offense, the government may also reinstate any charges or file any
additional charges against the defendant for the greater offense, and

the defendant waives his double-jeopardy rights with respect to the

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greater offense. If the government reinstates any charges or files any
additional charges as permitted by this paragraph, the defendant
waives his right to challenge those charges on the ground that they
were not filed in a timely manner, including any claim that they were
filed after the limitations period expired.

14. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

15. Parties to Plea Agreement

This agreement does not bind any government agency except the

United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,

understandings, or agreements between the parties concerning the

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subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement.
If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by
the United States or any other party.

17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in

the United States Attorney’s Office by 5:00 p.m. on February 28,

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2025. The government may withdraw from this agreement at any time

before the defendant pleads guilty.

Dawn N. Ison

United States Attorney
Sara D. Woodward Sean L. King
Chief, General Crimes Unit Diane N. Princ

Assistant United States Attorney Assistant United States Attorneys

Dated: December 12, 2024

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By signing below, the defendant and his attorney agree that the
defendant has read or been read this entire document, has discussed it
with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions

answered by his attorney, and is satisfied with his attorney’s advice and

representation.
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Paryea Sadrnia Joel Michael\Adelsberg
Attorney for Defendant Defendant

Dated: 2/23/25

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